         Case 8:20-cv-01320-TDC Document 156 Filed 05/06/21 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, et al.,

                         Plaintiffs,
                                                         Case No. 8:20-cv-1320-TDC
                vs.

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                         Defendants.


                                   JOINT STATUS REPORT

       As the Parties previously notified this Court, see Dkt. 155, on April 12, 2021, Defendant

U.S. Food and Drug Administration (“FDA”) issued a letter to Plaintiff American College of

Obstetricians and Gynecologists announcing that, “provided the other requirements of the

Mifepristone REMS Program are met,” FDA “intends to exercise enforcement discretion during

the COVID-19 [Public Health Emergency (“PHE”)] with respect to the in-person dispensing

requirement of the Mifepristone REMS Program, including any in person requirements that may

be related to the Patient Agreement Form.” FDA also stated that, “to the extent all of the other

requirements of the Mifepristone REMS Program are met,” FDA “intends to exercise enforcement

discretion during the COVID-19 PHE with respect to the dispensing of mifepristone through the

mail either by or under the supervision of a certified prescriber, or through a mail-order pharmacy

when such dispensing is done under the supervision of a certified prescriber.”

       In light of this development, and because Defendants have never filed an answer or motion

for summary judgment in this matter, Plaintiffs intend to shortly file a notice of dismissal pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(i). Thereafter, all litigants—Plaintiffs, Defendants,

                                                 1
         Case 8:20-cv-01320-TDC Document 156 Filed 05/06/21 Page 2 of 4



and the States that sought intervention—intend to jointly file a motion to dismiss all appeals

pending in the Fourth Circuit. The litigants are in agreement that this Court’s July 13, 2020

preliminary injunction, Dkt. 92, will dissolve and have no effect upon dismissal of this matter.


 Dated: May 6, 2021
                                                    Respectfully submitted,

 /s/ Julia Kaye                                     /s/ John A. Freedman

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                                                2
Case 8:20-cv-01320-TDC Document 156 Filed 05/06/21 Page 3 of 4



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                              3
         Case 8:20-cv-01320-TDC Document 156 Filed 05/06/21 Page 4 of 4



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of May, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.


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